Case 1:16-cv-23170-FAM Document 223 Entered on FLSD Docket 10/10/2018 Page 1 of 2



                         UNITED STATES DISTRICT COURT FOR THE
                             SOU TH ERN D ISTRICT O F FLOR IDA
                              CaseNum ber:16-23170-ClV-M ORENO
  ELLIOT GELBER ,and a11otherssim ilarly
  Situated RUBEN YERO SIGFREDO
  HERV NDEZ,MONIC/VILA,FARADIAZ                    ,
  JORGE AGULA R,CASSANDM BAKER ,
  SY LVIA BA TISTA ,SA N D M A M EN EIR 0 ,
  JEAN VALBRUM ,AN GEL LOPEZ,CARLOS
  TOLEN TIN O ,M A G ALIE SAN TIAG O , LU IS
  PAGAN ,LAREZO M OREM ,RUBEN
  CATALA,ANEW RYS ROSARIO,and REY
  RIJO S,

                Plaintiffs,
 VS.

 AK AL SECURITY ,IN C .,

                D efendant.
                                                       /
         ORDER GM NTING RECONSIDER ATIO N OF SUM M ARY JUDGM ENT

         Pursuant to Federal Rules of CivilProcedure 56 and 58, and in accordance with the

 reasons stated in Open Coul'
                            t,the Coul'
                                      t reconsiders its Order Denying Summary Judgment.

 Consistentwith theparties'indication in Open Courtthatthere are no issuesofmaterialfact, the

 Courtfindsin favorofthe Plaintiffsthatthere wasno bona fide m ealbreak forthe AirSecurity

 Offcers on the return empty legs of their work flights and that Plaintiffs are entitled to

 com pensation fortheirtraveltimeunderKolhein v. Gl
                                                  ynnCounty Ga.,915F.2d 1473 (11th Cir.
 1990) and the Code of Federal Regulations j 785.19. Specifically, the Court found the
 undisputed evidence showed thatthe Air Security Officers were nottdrelieved of work forthe

 purpose ofeating a regularly scheduled m eal.''
Case 1:16-cv-23170-FAM Document 223 Entered on FLSD Docket 10/10/2018 Page 2 of 2



         Aherhearing testim ony on the issue ofwillfulness and given Plaintiffs
                                                                                  waiverofjury
  trialon thisissue, the Courtfindsthe Defendantdid notactwillfully in violating the FairL
                                                                                             abor
  StandardsActand acted on the good faith adviceofcounsel.

         DONE AND ORDEIIED in Open CourtatM iami, Florida,this                ofOctober2018
  and signed in cham bersthis   % dayofoctober2018   .




                                           FEDERICO .       N
                                           UN ITED STAT S DISTRICT JUD GE
  Copiesfurnished to:

  CounselofRecord
